 

 

Case 1:16-cv-00977-DLF Document 60 Filed 08/02/18 Page 1of1

CO 109A - Rev, 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COU ZLED
FOR THE DISTRICT OF COLUMBIA

 

 

8
92.0
ANASTACIO SALVADOR RODRIGUEZ hve : g Banko a
Acie cow"
) gt Sige preter FO
cts
) ov
vs. ) Civil/Criminal No.: 16-CV-977
)
ADAMS RESTAURANT GROUP, INC.)
)
NOTE FROM JURY

 

We Wie, Nabed a eek

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date: a Kyat Qoles
; ’ 6 v
eaia J : / () ce ON

 

 

 
